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 1                                   UNITED STATES DISTRICT COURT

  2                                        DISTRICT OF NEVADA
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 3     AARON GUERRERO,                                           Case No.: 2:24-cv-01083-CDS-BNW
  4
 4                     Plaintiff,
  5                                                                             ORDER
 5            v.
  6
 6     AURAM, et al.,
  7
 7                     Defendants.
  8
 8
  9          On June 11, 2024, pro se plaintiff Aaron Guerrero, an inmate in the custody of the Nevada
 9
 10   Department of Corrections, submitted a complaint under 42 U.S.C. § 1983. ECF No. 1-1. But
10
 11   Plaintiff has neither paid the full filing fee in this action nor applied to proceed in forma pauperis.
11
 12   See ECF No. 1.
12
 13          The United States District Court for the District of Nevada must collect filing fees from
13
 14   parties initiating civil actions. 28 U.S.C. § 1914(a). As of December 1, 2023, the fee for filing a
14
 15   civil-rights action is $405, which includes the $350 filing fee and the $55 administrative fee. See
15
 16   28 U.S.C. § 1914(b). “Any person who is unable to prepay the fees in a civil case may apply to the
16
 17   court for leave to proceed in forma pauperis.” Nev. LSR 1-1. For an inmate to apply for in forma
17
 18   pauperis status, the inmate must submit all three of the following documents to the Court: (1) a
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 19   completed Application to Proceed in Forma Pauperis for Inmate, which is pages 1–3 of the
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 20   Court’s approved form, that is properly signed by the inmate twice on page 3; (2) a completed
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 21   Financial Certificate, which is page 4 of the Court’s approved form, that is properly signed by
21
 22   both the inmate and a prison or jail official; and (3) a copy of the inmate’s prison or jail trust
22
 23   fund account statement for the previous six-month period. See 28 U.S.C. § 1915(a)(1)–(2);
23
 24   Nev. LSR 1-2. In forma pauperis status does not relieve an inmate of his or her obligation to pay
24
 25   the filing fee, it just means that the inmate can pay the fee in installments. See 28 U.S.C. § 1915(b).
25
 26          It is therefore ordered that Plaintiff has until August 13, 2024, to either pay the full $405
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 27   filing fee or file a fully complete application to proceed in forma pauperis with all three required
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 28   documents: (1) a completed application with the inmate’s two signatures on page 3, (2) a
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 1    completed financial certificate that is signed both by the inmate and the prison or jail official, and

  2   (3) a copy of the inmate’s trust fund account statement for the previous six-month period.
 2
  3          Plaintiff is cautioned that this action will be subject to dismissal without prejudice if
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  4   Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff to
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  5   refile the case with the Court, under a new case number, when Plaintiff can file a complete
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  6   application to proceed in forma pauperis or pay the required filing fee.
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  7          The Clerk of the Court is directed to send plaintiff Aaron Guerrero the approved form
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  8   application to proceed in forma pauperis for an inmate and instructions for the same, and to retain
 8
  9   the complaint (ECF No. 1-1) but not file it at this time.
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10           DATED: June 14, 2024
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13                                                   UNITED STATES MAGISTRATE JUDGE
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